    Case 17-06078-MM7             Filed 05/10/18   Entered 05/11/18 11:25:03   Doc 259-1   Pg. 1 of
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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF CALIFORNIA

                                                Minute Order
Hearing Information:
                                                                                                         0.00
                    Debtor:   CORE SUPPLEMENT TECHNOLOGY, INC.
              Case Number:    17-06078-MM7          Chapter: 7
      Date / Time / Room:     THURSDAY, MAY 10, 2018 03:00 PM DEPARTMENT 1
       Bankruptcy Judge:      MARGARET M. MANN
        Courtroom Clerk:      GREGG ROBINSON
          Reporter / ECR:     SUE ROSS

Matter:
              STATUS CONFERENCE ON CHAPTER 7 CASE



Appearances:

        STEPHEN HINZE, ATTORNEY FOR CORE SUPPLEMENT TECHNOLOGY, INC.
        MARY YOUNG, ATTORNEY FOR SIMPSON LABS - Telephonic
        ALEXANDRA RHIM, ATTORNEY FOR BANK OF AMERICA - Telephonic
        GARY SLATER, ATTORNEY FOR RICHARD KIPPERMAN, TRUSTEE
        CHRISTOPHER HAWKINS, ATTORNEY FOR JOSEPH O'DEA
        RICHARD KIPPERMAN, TRUSTEE - In the Courtroom
Disposition:                                                                               1.00

        Off calendar.




Page 1 of 1                                                                            5/14/2018   2:22:26PM
